         Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 1 of 8


1    Brian S. Tamsut, No. 322,780 btamsut@socalip.com
2    Michael D. Harris, No. 59,470 mharris@socalip.com
     SOCAL IP LAW GROUP LLP
3    310 N. Westlake Blvd., Suite 120
4    Westlake Village, CA 91362-3788
     Phone: (805) 230-1350 • Fax: (805) 230-1355
5
     Attorneys for Adavco, Inc.
6

7

8
                              UNITED STATES DISTRICT COURT
9
                             EASTERN DISTRICT OF CALIFORNIA
10
     Adavco, Inc., a California corporation,
11        Plaintiff,
12            v.
     Deertrail Development LLC, a Cali-        Case No. 1:23-at-383
13
     fornia limited liability company, New     Complaint for Damages and Injunction;
14   Gen Engineering Inc., a California        Copyright Infringment; Unfair Competition.
15   corporation, McIntosh & Associates        Demand for Jury Trial
     Engineering, Inc., a California corpo-
16   ration, Does 1-10.
17        Defendants.
18
           Adavco, Inc. (“Plaintiff” or “Adavco”) for its complaint against Deertrail De-
19
     velopment LLC (“Deertrail”), New Gen Engineering Inc. (“New Gen”), McIntosh &
20
     Associates Engineering, Inc. (“McIntosh”), and Does 1-10 alleges:
21
                                  JURISDICTION AND VENUE
22
           1. This is an action for copyright infringment. Plaintiff Adavco Inc. commis-
23
     sioned two copyright protected tract maps for use with real estate development pro-
24
     jects, Adavco was never compensated for the maps, yet several developers and indi-
25
     viduals continue to use the maps without a license.
26
           2. This court has subject matter jurisdiction over the claims in this action un-
27
     der 28 U.S.C. § 1331, 28 U.S.C. § 1338(a) through (b) and 28 U.S.C. § 1367.
28
           3. This court has personal jurisdiction against Deertrail Development LLC,
                                                    Adavco, Inc., v. Deertrail Development et al.
     Complaint                                 1                           Case No.: 1:23-at-383
          Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 2 of 8


1    New Gen Engineering Inc., and McIntosh & Associates Engineering, Inc., under Cal.
2    Code Civ. Proc. § 410.10, because they all are California corporations or limited li-
3    ability companies, and all do business in California.
4           4. Venue in this judicial district is proper under 28 U.S.C. § 1391(b).
5                                            PARTIES
6           5. Adavco Inc., a California corporation, is a development firm in Bakers-
7    field, California. Adavco assists builders throughout California by advising, design-
8    ing, and commissioning tract maps for use with real estate development projects.
9    Adavco’s maps are highly coveted because they outline how to build valuable proper-
10   ties, and are drafted in a manner that is approved by cities, including the city of Bak-
11   ersfield.
12          6. Deertrail Development LLC is a California limited liability company. It is
13   a land developer in Bakersfield, California. Deertrail, without a license from Adavco,
14   used the tract maps 6860 and 6859 (Attached as Exhibits A and B) to help develop a
15   residential subdivision project in Bakersfield, California.
16          7. McIntosh & Associates Engineering, Inc., a California corporation, is a
17   civil engineering and land surveying company that does business in Bakersfield, Cali-
18   fornia. Under information and belief, McIntosh was acquired by defendant New Gen
19   Engineering Inc., a California corporation. New Gen is continuing to assist Deertrail
20   in committing infringement of Adavco’s copyright, by assisting Deertrail in the de-
21   velopment of a residential subdivision in Bakersfield California that uses the Tract
22   6860 and 6859 copyrighted maps without a license from Adavco.
23          8. The true names and capacities of defendants Does 1 through 10 inclusive
24   are unknown to plaintiff, who therefore sues said defendants by such fictitious names.
25   Plaintiff is informed and believes and thereon alleges that each defendant herein des-
26   ignated as a Doe is responsible for the events and happenings herein referred to and
27   causing injuries proximately alleged. Plaintiff is informed and believes and thereon
28

                                                      Adavco, Inc., v. Deertrail Development et al.
      Complaint                               2                              Case No.: 1:23-at-383
          Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 3 of 8


1    alleges that each defendant was the agent, servant, and employee of each of the re-
2    maining defendants, and each was acting within the purpose and scope of the agency
3    and employment. Each of defendant Does 1 – 10 assisted in the unauthorized copying
4    of Adavco’s federally registered copyrights.
5                                   NATURE OF THE ACTION
6          9. Plaintiff Adavco created two copyright protected tract maps for use in the
7    development of tract 6859 and 6860 located in Bakersfield California. Adavco was
8    never compensated for the maps, yet a subsequent developer, its engineers and its
9    subcontractors continue to use the maps without a license from Adavco.
10         10. This action redresses the infringement of Adavco’s registered copyrights.
11   Deertrail Development LLC, New Gen Engineering Inc., McIntosh and Associates
12   Engineering, Inc., and Does 1-10 have created photographic, paper, digital, and phys-
13   ical unlicensed copies of Adavco’s federally registered copyrighted works via the de-
14   velopment of a residential subdivision in Bakersfield, California.
15         11. By copying and using Adavco’s copyrighted works without a license and
16   using a tangible embodiment of the subdivision design of Adavco’s tract maps that
17   are the subject of Copyright Registration Certificate No. VA 2-299-859, and VA 2-
18   299-592, all Defendants have engaged in copyright infringement.
19         12. Adavco commissioned and paid for the approved plans and tract maps for
20   the tract 6859 and 6860 developments in Bakersfield. These maps are protected under
21   federal copyright law and are registered with the U.S. copyright office under certifi-
22   cates VA2-299-859 and VA 2-299-592 respectively (see attached registration certifi-
23   cates and copyright deposits, Exhibits C and D).
24                                  FACTUAL BACKGROUND
25         13. Adavco has engaged in urban planning including the design of residential
26   subdivisions in Bakersfield, California since 1982.
27         14. Over the past 40 years, the company has provided planning maps for vari-
28   ous projects throughout California. These maps are not only associated with high
                                                     Adavco, Inc., v. Deertrail Development et al.
     Complaint                                3                             Case No.: 1:23-at-383
            Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 4 of 8


1    quality, but are examined and approved by various city and federal agencies includ-
2    ing the city of Bakersfield. One of the most difficult parts of real estate development
3    is obtaining city approval of tract maps for real estate projects. Maps that retain crea-
4    tivity while obtaining approval from city regulators are highly sought after and valua-
5    ble.
6            15. Adavco developed two maps for a residential subdivision in Bakersfield,
7    the tract 6860 and tract 6859 projects.
8            16. Adavco completed both maps, which were later registered with the city of
9    Bakersfield. Deertrail, nor any other named defendant, did not paid for the maps yet
10   Deertrail represented to third parties that the maps were “public record” and that the
11   rights to them would “run with the land.” Adavco never granted Deertrail or any third
12   party, a license to use the maps.
13           17. New Gen and McIntosh, with help from Deertrail, began construction of
14   the subdivisions based off the tract 6860 and 6859 plans. New Gen and McIntosh also
15   used Adavco’s maps and created unlicensed derivative works of the maps to create
16   construction drawings, water systems, grating, and sewers. Several different contrac-
17   tors worked on constructing the subdivision, according to the specification and details
18   of the tract 6860 and 6859 plans. Multiple copies of the maps were also created with-
19   out a license.
20           18. Under information and belief all defendants in this case made at least fif-
21   teen unlicensed reproductions of the copyright protected tract maps. Several copies
22   were made and submitted to the city, several copies were made and submitted to con-
23   tractors and various third parties.
24           19. On information and belief, defendants’ construction of the subdivision is
25   based on subdivision designs substantially similar and created as a derivative work to
26   the subdivision designs found with the copyright protected 6860 and 6859 plans.
27           20. On information and belief, defendants made multiple, unlicensed electronic
28   and paper copies of the 6860 and 6859 plans during construction and planning of the
                                                      Adavco, Inc., v. Deertrail Development et al.
      Complaint                                4                             Case No.: 1:23-at-383
          Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 5 of 8


1    development of the 6860 and 6859 project.
2                                  FIRST CLAIM FOR RELIEF
3                 COPYRIGHT INFRINGEMENT OF TRACT MAP 6860 AND 6859
4          21. Plaintiff incorporates by reference and re-alleges all previous paragraphs.
5          22. Plaintiff followed all requirements of the copyright laws of the United
6    States regarding the tract maps 6860 and 6859.
7          23. Defendants’ copying of the federally registered tract maps is infringement
8    of Adavco’s registered copyright and the technical drawings depicted in the tract
9    maps, in violation of the Copyright Act.
10         24. The infringement caused Adavco harm and injury.
11         25. Because of these wrongful acts of defendants in creating infringing copies
12   of the tract maps, Adavco’s copyright of the tract maps has been infringed.
13                                SECOND CLAIM FOR RELIEF
14                       CONTRIBUTORY COPYRIGHT INFRINGEMENT
15         26. Adavco incorporates by reference and re-alleges all previous paragraphs.
16         27. During the construction of the residential subdivisions in Bakersfield,
17   Deertrail, New Gen, McIntosh, and Does 1-10 controlled and contributed to the de-
18   velopment of the residential subdivisions.
19         28. Because of constructing the residential subdivisions and the unlawful use
20   of Adavco’s copyrighted plans, defendants obtained a direct financial benefit.
21         29. Because of their actions, all defendants knowingly and materially contrib-
22   uted to and induced Deertrail’s infringing conduct of plaintiff’s maps.
23         30. Defendants also induced infringement through their copying, distribution,
24   and attempted recording of the tract maps.
25         31. Because of these wrongful acts of defendants in contributing to the in-
26   fringement and infringing use of the tract maps, Adavco’s copyright in the tract maps
27   has been infringed. Adavco is entitled to recover actual damages and that portion of
28

                                                      Adavco, Inc., v. Deertrail Development et al.
     Complaint                                  5                            Case No.: 1:23-at-383
          Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 6 of 8


1    the profits realized by defendants from using and commercial exploitation of the in-
2    fringing copies attributable to the unlawful use by defendants of the copyrighted ma-
3    terial contained in the tract maps that are the subject of Copyright Registration Certif-
4    icate No. VA 2-299-859, and VA 2-299-592.
5                                  THIRD CLAIM FOR RELIEF
6           COMMON LAW UNFAIR COMPETITION – (AGAINST ALL DEFENDANTS)
7          32. Adavco incorporates by reference its previous allegations.
8          33. This is a claim against defendants for unfair competition under California
9    laws. This court has subject matter jurisdiction over this claim for relief under 28
10   U.S.C. § 1338(b) because it is an unfair competition claim joined with a substantial
11   and related claim under Federal Copyright laws.
12         34. Adavco has built up substantial goodwill in the quality and distinctive ap-
13   pearance of its maps. Adavco, as a developer, directly competes with Defendant’s for
14   constructions jobs and planning jobs.
15         35. Knowing the esteem the public holds for Adavco’s maps, Defendants in-
16   tended to and traded on the goodwill associated with Adavco’s maps and misled and
17   will continue to mislead the public into assuming a connection between Adavco and
18   defendants’ real estate development project by their distribution of maps that bear
19   confusingly similar resemblance to Adavco’s maps.
20         36. Defendants’ unauthorized use of Adavco’s maps caused and likely will
21   continue to cause damage to Adavco by tarnishing the valuable reputation and image
22   associated with Adavco and its maps.
23         37. Defendants’ conduct is unfair competition in violation of California law.
24         38. Defendants acted willfully and maliciously, subjecting each defendant to
25   an award of punitive damages under California law.
26         39. Because of these acts, Defendants are liable to Adavco for: (a) compensa-
27   tory damages or Defendants’ illicit profits; and (b) punitive damages in an amount
28   sufficient to punish Defendants.
                                                     Adavco, Inc., v. Deertrail Development et al.
      Complaint                               6                             Case No.: 1:23-at-383
            Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 7 of 8


1                                      REQUEST FOR RELIEF
2            WHEREFORE, Adavco respectfully requests that the Court order judgment
3            against each defendant for:
4            40. A declaration that each defendant willfully infringed Adavco’s exclusive
5    rights in the copyrighted material in the tract maps that is the subject of Copyright
6    Registration Certificate Nos. VA 2-299-859, and VA 2-299-592.
7            41. A preliminary and thereafter permanent injunction against defendants and
8    all persons acting in concert or participation with them or persons acting or purport-
9    ing to act on their behalf, including but not limited to their officers, directors, stock-
10   holders, partners, owners, agents, representatives, employees, attorneys, successors
11   and assigns and all other persons acting in concert or privity with them, directing de-
12   fendants to:
13                    a. Cease and desist from infringing plaintiff's copyright in the tract
14                       maps;
15                    b. Destroy all copies of the plans, including any drawings, models,
16                       advertisements, catalogues and other materials based on or derived
17                       from the tract maps; and
18                    c. Take all steps necessary to remove any structures or design ele-
19                       ments copied from the tract maps or built based on the tract maps.
20           42. The impounding of all copies of the tract maps and any other materials de-
21   rived from the tract maps in whole or in part, incorporating any element of the tract
22   maps, and all ways such copies may be reproduced and an order providing for the de-
23   struction or other reasonable disposition of materials containing copies of the tract
24   maps of the designs embodied in the tract maps used in violation of Adavco’s exclu-
25   sive rights and all ways such copies may be produced; and if certain such copies are
26   no longer under the control of defendants, provide the name, address and relevant
27   contact information of those believed to be in possession and control of such materi-
28   als;
                                                       Adavco, Inc., v. Deertrail Development et al.
      Complaint                                7                              Case No.: 1:23-at-383
          Case 1:23-cv-00695-SKO Document 1 Filed 05/05/23 Page 8 of 8


1          43. The filing with this Court and the service on Adavco within 30 days fol-
2    lowing service of the injunction order, a report under oath and in writing, setting forth
3    the form in which defendants have followed the injunction;
4          44. The awarding to plaintiff Adavco of damages equal to the actual damages
5    suffered by Adavco because of the infringement and that part of the profits earned by
6    defendants from the creation and commercial exploitation of the copied tract maps
7    and the infringing building attributable to the infringement, and not considered in
8    computing Adavco’s actual damages, including an award of the reasonable attorney
9    fees, costs and disbursements incurred by Adavco in connection with this action; and
10         45. The awarding to plaintiff Adavco of at least $2,250,000, the maximum stat-
11   utory damages allowed under the Copyright Act regarding each infringement, or for
12   such other amount as may be proper under 17 U.S.C. § 504(c), including an award of
13   reasonable attorney fees, costs, and disbursements incurred by Adavco in connection
14   with this action; and
15         46. The granting to Adavco of such other and further relief as this Court may
16   deem just and proper.
17
     May 5, 2023                              /s/ Brian Tamsut
18
                                              Brian Tamsut
                                              Michael Harris
19                                            SOCAL IP LAW GROUP LLP
20                                            Attorney for Plaintiff Adavco, Inc.
21                                        JURY DEMAND
22         Plaintiff demands a trial by jury on all issues triable to a jury.
23   May 5, 2023                              /s/ Brian Tamsut
                                              Brian Tamsut
24
                                              Michael Harris
25                                            SOCAL IP LAW GROUP LLP
26                                            Attorney for Plaintiff Adavco, Inc.
27

28

                                                      Adavco, Inc., v. Deertrail Development et al.
     Complaint                                 8                             Case No.: 1:23-at-383
